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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                       Plaintiff,

        v.

DOROTHY FINK, in her official capacity, and
U.S. DEPARTMENT OF HEALTH AND HUMAN
                                                              Civil Action No. 1:24-cv-3188
SERVICES,

and

DIANA ESPINOSA, in her official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                       Defendants.


          [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR
       EXPEDITED CONSIDERATION OF SUMMARY JUDGMENT MOTIONS

       Upon consideration of Plaintiff’s Motion for Expedited Consideration of Summary

Judgment Motions, and any responses or oppositions thereto, the Court ORDERS that the motion

is GRANTED. The Court intends to issue a ruling on the summary judgment motions filed in this

case on or before July 1, 2025, or as soon thereafter as the Court’s schedule will allow.

       IT IS SO ORDERED.



       Dated: ________________________               ________________________________
                                                     HON. RUDOLPH CONTRERAS
                                                     UNITED STATES DISTRICT JUDGE
